      Case 3:20-cr-00506-HZ          Document 1       Filed 11/03/20    Page 1 of 9




                          UNITED STATES DISTRICT COURT

                                  DISTRICT OF OREGON

                                  PORTLAND DIVISION



UNITED STATES OF AMERICA

              v.                                INDICTMENT

HAWAZEN SAMEER MOTHAFAR,                        18 U.S.C. §§ 2339B(a)(1), 1546(a) and
                                                1001(a)(2)
              Defendant.
                                                UNDERSEAL


                             THE GRAND JURY CHARGES:

                                         COUNT 1
                   (Conspiracy to Provide Material Support to a Designated
                              Foreign Terrorist Organization)
                                  (18 U.S.C. § 2339B(a)(1))

      Introductory Allegations:

      1.     At times material to this Indictment:

             a.       HAWAZEN SAMEER MOTHAFAR was a legal permanent resident of

      the United States residing in the Portland, Oregon area.

                                             ISIS

             b.       On or about October 15, 2004, the United States Secretary of State

      designated al-Qa'ida in Iraq, then known as Jam'at al Tawhid wa'al-Jihad, as a foreign

      terrorist organization under Section 219 of the Immigration and Nationality Act and as a

      Specially Designated Global Terrorist under section l(b) of Executive Order 13224.
Indictment                                                                              Page 1
        Case 3:20-cr-00506-HZ           Document 1        Filed 11/03/20       Page 2 of 9




               c.     On or about May 15, 2014, the Secretary of State amended the designation

       of al-Qa'ida in Iraq as a foreign terrorist organization under Section 219 of the Immigration

       and Nationality Act and as a Specially Designated Global Terrorist entity under section

       1(b) of Executive Order 13224 to add the alias Islamic State of Iraq and the Levant as its

       primary name. The Secretary also added the following aliases to the foreign terrorist

       organization listing: The Islamic State oflraq and al-Sham (i.e., "ISIS"-which is how the

       foreign terrorist organization will be referenced herein), the Islamic State oflraq and Syria,

       ad-Dawla al-Islamiyya fi al-Iraq wa-sh-Sham, Daesh, Dawla al Islamiya, and Al-Furquan

       Establishment for Media Production.

               d.      On or about September 21, 2015, the Secretary of State added the following

       aliases to the foreign terrorist organization listing: Islamic State, ISIL, and ISIS.

               e.      On or about March 21, 2019, the Secretary of State added the following

       aliases to the foreign terrorist organization listing: Amaq News Agency and Al Hayat

       Media Center. To date, ISIS remains a designated foreign terrorist organization.

                           SALECK OULD CHEIKH MOHAMEDOU

       2.      On December 21, 2016, the Department of State designated Saleck Ould Cheikh

Mohamedou (Mohamedou) as a Specifically Designated Global Terrorist (SDGT) under Executive

Order 13224. Mohamedou is an al-Qa'ida in the Islamic Maghreb operative who was incarcerated

in Mauritania after his 2011 conviction for multiple acts of terrorism.

                     THE ISIS CENTRAL MEDIA OFFICE, AKA DIWAN

       3.      The Diwan al-I'lam al-Markazi is the ISIS central media organization responsible

for coordinating ISIS's media efforts and provides guidance to ISIS media supporters.

II I

Indictment                                                                                     Page2
        Case 3:20-cr-00506-HZ           Document 1       Filed 11/03/20      Page 3 of 9




                    THE SUNNI SHIELD FOUNDATION AND AL-ANF AL

       4.      Al Dura'a al Sunni (Sunni Shield), is a pro-ISIS, internet-based media organization

that published Al-Anja! newspaper and disseminates pro-ISIS information, including written and

video content, as well as infographics. Al Anja! advocates violent jihad and in supporting the goals

of the Islamic State, coordinates with the Diwan and responds to their instructions.

                                 SOCIAL MEDIA PLATFORM A

        5.     Social Media Platform A is a mobile and desktop messaging application. Social

Media Platform A allows users to communicate with each other in chat rooms called channels.

Channels can be set up as private, with only approved users allowed access.

                                       THE CONSPIRACY

        6.     The Grand Jury realleges and incorporates by reference paragraphs 1 through 5 of

this Indictment.

        7.     Beginning no later than February 2015 and continuing through November 5, 2020,

in the District of Oregon and elsewhere, HAWAZEN SAMEER MOTHAFAR conspired with

others both known and unknown to the Grand Jury, to provide material support and resources,

namely, services, to a foreign terrorist organization, namely, ISIS, knowing that the organization

was a designated foreign terrorist organization, and that the organization had engaged in and was

engaged in terrorist activity and terrorism.

                       MANNER AND MEANS OF THE CONSPIRACY

        8.     It was part of the conspiracy that MOTHAFAR and co-conspirators would edit,

produce, and disseminate ISIS propaganda and recruiting material through various social media

platforms in coordination with and on behalf of ISIS.

II I

Indictment                                                                                   Page3
         Case 3:20-cr-00506-HZ         Document 1      Filed 11/03/20      Page 4 of 9




        9.     It was part of the conspiracy that MOTHAFAR would serve as the conduit for

receiving input directly from ISIS and provide instructions based on that input to Sunni Shield

members.

        10.    It was part of the conspiracy that MOTHAFAR would manage and create a "bot"

- a software application that is programmed to respond to instructions and inquiries - for Sunni

Shield members that would help answer questions, spread information, and anonymize user

identities.

        11.    It was part of the conspiracy that MOTHAFAR would moderate private chat rooms

and channels dedicated to supporting ISIS through the Sunni Shield Foundation.

        12.    It was part of the conspiracy that MOTHAFAR would assign tasks and control

access to pro-ISIS chat rooms and channels devoted to the production of Al Anja! and the Sunni

Shield Foundation.

        13.    It was part of the conspiracy that MOTHAFAR and co-conspirators concealed,

misrepresented, and hid, and caused to conceal, misrepresent, and hide the existence, purpose, and

acts done in furtherance of the conspiracy.

                                         OVERT ACTS

        14.    In furtherance of the conspiracy and to accomplish its objectives and purposes,

defendant and others committed and caused to be committed the following overt acts:

               a.      In February 2019, MOTHAFAR pledged allegiance, or ba'yat, to ISIS and

        reaffirmed that he had been an ISIS supporter since 2014.

               b.      Between November 2017 and March 2019, MOTHAFAR edited,

        produced, published, and disseminated 32 issues of Al-Anja! newspaper.

II I

Indictment                                                                                 Page4
       Case 3:20-cr-00506-HZ           Document 1       Filed 11/03/20      Page 5 of 9




              c.        On November 29, 2017, Issue 2 ofAl-Anjalwas released byMOTHAFAR.

       It contained an article entitled "Effective Stabbing Techniques" that provides detailed

       guidance how to best kill and maim in a knife attack.

              d.        On December 20, 2017, Issue 4 of Al-Anja! was released by MOTHAFAR.

       It contained an article entitled "How Does a Detonator Work" that contains a tutorial on

       the use of explosive ignition devices.

              e.        On December 20, 2017, Issue 4 of Al-Anja! was released by MOTHAFAR

       It contained a two part info graphic containing a picture of the Eiffel Tower and Statue of

       Liberty on fire with the caption, partially in Arabic and English, which read: "Soon in the

       Heart of Your Lands."

              f.        On June 21, 2018, Issue 17 of Al-Anja! was released by MOTHAFAR. It

       contained an article encouraging readers to ca1Ty out attacks in their country of origin if

       they are unable to travel to areas where ISIS is actively engaged in fighting.

               g.       Throughout 2018, MOTHAFAR communicated with ISIS supporters

       while moderating a channel on Social Media Platform A entitled "Designers Workshop

       Sunni Shield."

               h.       Throughout 2018, MOTHAFAR managed and created a "bot" for Sunni

       Shield at the request of Sunni Shield members.

               1.       On October 28, 2018, MOTHAFAR issued a call for content to be

       published in Al-Anjal after ISIS victories in northern Syria: "In light of the victories that

       have been accomplished by the believers in Baghuz, Susah, and other areas, we urge all

       good brothers to support them by producing short articles and videos."

I II

Indictment                                                                                  Page5
       Case 3:20-cr-00506-HZ          Document 1       Filed 11/03/20       Page 6 of 9




              J.       On November 2, 2018, MOTHAFAR shared 70 images of explosives and

       western cities with Sunni Shield members, telling them, "the images of destroyed infidel

       cities will be useful."

               k.      On November 25, 2018, MOTHAFAR solicited Mohamedou, also known

       as "Abu Qaswarah al-Shanqiti," to write an editorial for Al-Anja! that would incite readers

       to mobilize for duty. Mohamedou provided the text of an editorial, the content of which

       appeared in Issue 26 of Al-Anja!. The editorial encouraged violent jihad and argued that

       "a believer should not have any excuse for not joining the mujahidin."

               1.      On April 2, 2019, MOTHAFAR told the Sunni Shield graphic design

       workshop membership to get ready for "an official campaign" and help gather information

       from members for use by the Diwan.

               m.       On January 25, 2019, in an online conversation with an unknown ISIS

       supporter, MOTHAFAR expressed concern about revealing his identity while using his

       true name in connection with Sunni Shield because "if published for the foundation, it

       could mean 4 terror."

       In violation of Title 18, United States Code, Section 2339B(a)(l).

                                           COUNT2
                    (Conspiracy to Provide Material Support to a Designated
                               Foreign Terrorist Organization)
                                    (18 U.S.C. § 2339B(a)(l))

       1.      The Grand Jury realleges and incorporates by reference paragraphs 1 through 5 of

Count One of this Indictment.

                                      THE CONSPIRACY

       2.      Beginning no later than February 2015 and continuing through November 5, 2020,

in the District of Oregon and elsewhere, HAWAZEN SAMEER MOTHAFAR conspired with
Indictment                                                                                 Page 6
        Case 3:20-cr-00506-HZ           Document 1           Filed 11/03/20   Page 7 of 9




others both known and unknown to the Grand Jury, to provide material support and resources,

namely, personnel and services, to a foreign terrorist organization, namely, ISIS, knowing that the

organization was a designated foreign terrorist organization, and that the organization had engaged

in and was engaged in terrorist activity and terrorism.

                        MANNER AND MEANS OF THE CONSPIRACY

       3.       It was part of the conspiracy that MOTHAFAR would open social media and email

accounts within the United States on behalf of and to be used by ISIS supporters and ISIS officials

in a manner intended to defeat the providers' security protocols. A senior ISIS official in custody

in Iraq told investigators that it was MOTHAFAR's job to provide ISIS "new accounts when we

needed new accounts as soon as possible."

       4.       It was part of the conspiracy that MOTHAFAR would provide counsel and

logistical assistance to ISIS supporters and officials.

                                           OVERT ACTS

        5.      In furtherance of the conspiracy and to accomplish its objectives and purposes,

defendant and others committed and caused to be committed the following overt acts:

                a.      On October 26, 2016, MOTHAFAR opened a Facebook account for a

        senior ISIS official currently in custody in Iraq.

                b.      In April 2017, MOTHAFAR created a secure email account for an ISIS

        member located overseas.


                c.      In December 2019, MOTHAFAR attempted to acquire information on the

        piloting and control of a drone which would be "carrying an object" for Saleck Ould Cheikh

        Mohamedou.

      In violation of Title 18, United States Code, Section 2339B(a)(l).
Indictment                                                                                  Page7
        Case 3:20-cr-00506-HZ           Document 1      Filed 11/03/20       Page 8 of 9




                                        COUNT3
          (Providing and Attempting to Provide Material Support to a Designated
                             Foreign Terrorist Organization)
                                (18 U.S.C. § 2339B(a)(1))

       Beginning no later than February 2015 and continuing through November 5, 2020, in the

District of Oregon and elsewhere, HAW AZEN SAMEER MOTHAFAR knowingly provided

and attempted to provide material support and resources, namely, personnel and services, to a

foreign terrorist organization, namely ISIS, knowing that the organization was a designated foreign

terrorist organization, and that the organization had engaged in and was engaged in terrorist

activity and terrorism.

       In violation of Title 18, United States Code, Section 2339B(a)(l).

                                              COUNT4
                          (False Statements in an Immigration Application)
                                        (18 U.S.C. § 1546(a))

       On October 26, 2018, in the District of Oregon, HAWAZEN SAMEER MOTHAFAR,

knowingly subscribed as true under penalty of perjury under Section 1746 of Title 28 of the United

States Code a false statement. When asked on the Form N-400, "Have you ever been a member

of or in any way associated (either directly or indirectly) with: A Terrorist Organization,"

defendant HAWAZEN SAMEER MOTHAFAR falsely stated "NO" by checking a box, when

in fact as he knew and continues to know he has associated directly and indirectly with ISIS, a

designated foreign terrorist organization.

       In violation of Title 18, United States Code, Section 1546(a).

                                             COUNTS
                             (False Statement to a Government Agency)
                                       (18 U.S.C. § 1001(a)(2))

        On August 24, 2020, in the District of Oregon, HAWAZEN SAMEER MOTHAFAR,

willfully and knowingly made a materially false, fictitious, and fraudulent statement and
Indictment                                                                         Page8
        Case 3:20-cr-00506-HZ          Document 1       Filed 11/03/20      Page 9 of 9




representation in a matter within the jurisdiction of the executive branch of the Government of the

United States, by making false oral statements during an interview with an official of the United

States Citizenship and Immigration Services, a component of the Department of Homeland

Security, in connection with his application to become a Naturalized United States Citizen. When

asked whether he had been involved with any kind of terrorist organization, MOTHAFAR shook

his head, indicating "No," repeatedly. When asked whether he knew anyone involved in any

terrorist organizations, MOTHAFAR shook his head "No." And when asked whether he knew

anyone associated in any way with any foreign terrorist organizations, MOTHAFAR shook his

head "No."

       In violation of Title 18, United States Code, Section 1001 (a)(2).

Dated: November_,,,_, 2020                           A TRUE BILL.




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                                                     OFFICIATING FOREPERSON
Presented by:




ETHAN D. KNIGHT, OSB #992984
GEOFFREY A. BARROW
Assistant United States Attorneys




Indictment                                                                                  Page9
